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                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No. 1:19-cr-00242-NONE-SKO

12                  Plaintiff,                           ORDER DENYING DEFENDANT’S
                                                         MOTION FOR BAIL REVIEW
13           v.
                                                         (ECF Nos. 58, 59, 62, )
14   ESTEBAN DIAZ-SOTO,

15                  Defendant.

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17          On April 7, 2020, Defendant Delfina Leon Felix filed a motion for bail review seeking to

18 be released from custody. On April 8, 2020, and April 9, 2020, Plaintiff filed memorandums in

19 support of the motion. (ECF Nos. 58, 62.) The Government filed an opposition to the motion on
20 April 9, 2020. (ECF No. 63.)

21          A hearing on Defendant’s motion was held on April 10, 2020. Counsel Alekxia Torres

22 Stallings appeared by video for Defendant whose appearance was waived. Counsel Laurel

23 Montoya appeared by video for the Government. Having considered the moving papers and the

24 arguments presented at the April 10, 2020 hearing the Court shall deny Defendant’s motion for

25 bail review.

26          A bail hearing “may be reopened, before or after a determination by the judicial officer,

27 at any time before trial if the judicial officer finds that information exists that was not known to

28 the movant at the time of the hearing and that has a material bearing on the issue whether there


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 1 are conditions of release that will reasonably assure the appearance of such person as required

 2 and the safety of any other person and the community.” 18 U.S.C. § 3142(f).

 3          The Court finds that the conditions offered by Defendant do not reasonably address the

 4 danger to the community that would be posed by the release of Defendant on bail.

 5          For these reasons and the reasons stated on the record, Defendant’s proposed new

 6 conditions, along with the additional conditions, do not ensure the Defendant’s appearance or the

 7 safety of the community.      Therefore, Defendant’s motion for bail review and release on

 8 conditions is DENIED. The Defendant remains detained as a flight risk and danger to the

 9 community.

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     IT IS SO ORDERED.
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12 Dated:     April 10, 2020
                                                       UNITED STATES MAGISTRATE JUDGE
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